Case 9:16-cv-80912-WPD Document 10 Entered on FLSD Docket 07/25/2016 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  SHIPPING AND TRANSIT, LLC,                           Case No. 9:16-cv-80912

  Plaintiff,

  v.

  METROGISTICS, LLC.

  Defendant.




       MOTION TO WITHDRAW AS COUNSEL OF RECORD AND TO TERMINATE
                           CM/ECF NOTICES

          Diana F. Mederos hereby moves to withdraw as counsel of record for Plaintiff, and to

  terminate CM/ECF notices to her, and states as follows:

          1.     Diana F. Mederos is no longer with the firm of Schneider Rothman Intellectual

  Property Law Group, PLLC, effective July 1, 2016.

          2.     Plaintiff is represented by Joel B. Rothman and Jerold I. Schneider in this matter,

  and these attorneys will continue to represent Plaintiff.

          3.     Diana F. Mederos will not represent Plaintiff in this case.

          WHEREFORE, Diana F. Mederos respectfully requests the entry of an order granting her

  Motion to Withdraw and relieving her from further obligations to Plaintiff in this case, and

  terminating CM/ECF Notices as to Diana F. Mederos.

  DATED: July 25, 2016                          By: /s/ Diana Mederos
                                                Diana F. Mederos
                                                Florida Bar No. 99881
                                                diana@miplegal.com
                                                (561)235-3305
Case 9:16-cv-80912-WPD Document 10 Entered on FLSD Docket 07/25/2016 Page 2 of 4




                                     Mederos Legal, PLLC
                                     7000 W. Palmetto Park Rd.
                                     Ste. 210
                                     Boca Raton, FL 33433




                                       2
Case 9:16-cv-80912-WPD Document 10 Entered on FLSD Docket 07/25/2016 Page 3 of 4




                                  CERTIFICATE OF SERVICE


                 I HEREBY CERTIFY that on July 25, 2016, I electronically filed the foregoing
  with the Clerk of the Court by using the CM/ECF system. I also certify that the foregoing
  document is being served this day on all counsel of record identified on the Service List below in
  the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to received Notices of Electronic filing electronically.


                                                       By: /s/ Diana Mederos
                                                       Diana F. Mederos
                                                       Florida Bar No. 99881




                                                  3
Case 9:16-cv-80912-WPD Document 10 Entered on FLSD Docket 07/25/2016 Page 4 of 4




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                                     Case No. 9:16-cv-80912
  SHIPPING AND TRANSIT, LLC,

  Plaintiff,

  v.

  METROGISTICS, LLC

  Defendant.



             [PROPOSED] ORDER ON PLAINTIFF’S MOTION TO WITHDRAW
            AS COUNSEL OF RECORD AND TO TERMINATE CM/ECF NOTICES

           THIS CAUSE is before the Court upon the Motion of Diana F. Mederos to withdraw as

  counsel of record and to terminate CM/ECF Notices, and the Court being fully advised, it is

  hereby

           DONE AND ORDERED, that said Motion to Withdraw as Counsel of Record is granted,

  and the Clerk is directed to terminate CM/ECF Notices to Diana F. Mederos.

           DONE AND ORDERED in Chambers this ___ day of July, 2016.



                                       _______________________________________________
                                       HONORABLE WILLIAM P. DIMITROULEAS
                                       UNITED STATES DISTRICT JUDGE




                                                 4
